Case: 11-15626 Doc:154 _ Filed: 10/16/15 Page: 1 of 7

UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

In Re: )
JOHN R. SANER ) Case No. 11-15626 JDL
DEBTOR. )
)
AMENDED

APPLICATION FOR COMPENSATION, NOTICE OF OPPORTUNTY FOR
HEARING AND NOTICE OF HEARING

COMES NOW Roland V. Combs, IIE, of The Law Firm of Roland V. Combs, Ii
and Associates, PLC, Counsel for the Debtor, John R. Saner, and files an Application for
Compensation and Notice of Opportunity for Hearing pursuant to Chapter 13 Guidelines
and 11 U.S.C. Section 330. Counsel states as follows:
1. Debtor filed for relief under the provisions of Chapter 13 Bankruptcy on
October 14, 2011.

2. On September 29, 2015, the Court entered an Order Confirming Plan.

3. Counsel seeks approval of Attorney compensation for services rendered to
Debtor from October 14, 2011 through October 13, 2015 in the amount of
$16,750.00 (see Exhibit “A”).

WHEREFORE premises considered, Counsel prays that this Court grant
Attorney Compensation in the amount of $16,750.00 as claimed and other relief the

Court deems equitable and necessary.
Case: 11-15626 Doc: 154 _ Filed: 10/16/15 Page: 2 of 7

Respectfully submitted,

/s/ Roland V. Combs, II

Roland V. Combs, Hi OBA # 11073
The Law Firm of Roland V, Combs, III
& Associates, PLC

4401 NW 4" Street, Suite 121

P.O, Box 60647

Oklahoma City, OK. 73107

Tele. No. (405) 942-7866

Fax No. (405) 942-7845

Email: roland.combs@rolandvcombs.com
ATTORNEY FOR JOHN R. SANER

NOTICE OF OPPORTUNITY FOR HEARING

Your rights may be affected. You should read this document carefully and
consult your attorney about your rights and the effect of this document. If you do not
want the Court to grant the requested relief, or you wish to have your views considered,
you must file a written response or objection to the requested relief with the Clerk of the
United States Bankruptcy Court for the Western District of Oklahoma, 215 Dean A.
McGee Avenue, Oklahoma City, OK 73102 no later than twenty-one (21) days from the
date of filing of this request for relief. You should also serve a file-stamped copy of your
response or the objection to the undersigned movant/movant’s attorney [and others who
are required to be served] and file a certificate of service with the Court. If no response or
objection is timely filed, the Court may grant the requested relief without a hearing or
further notice.

The 21 day period includes the three (3) days allowed for mailing provided for in

Bankruptcy Rule 9006(f).
Case: 11-15626 Doc: 154 _ Filed: 10/16/15 Page: 3 of 7

NOTICE OF HEARING
(TO BE HELD ONLY IF A RESPONSE IS FILED)

NOTICE IS HEREBY GIVEN THAT THE APPLICATION FOR
COMPENSATION HAS BEEN SET FOR HEARING IN THE ABOVE STYLED
CASE FOR THE 107 DAY NOVEMBER, 2015 AT 2:00 P.M. BEFORE THE
HONORAABLE JANICE LOYD, SECOND FLOOR COURTROOM, AT THE
UNITED STATES BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF
OKLAHOMA, LOCATED AT 215 DEAN A. MCGEE AVENUE, Oklahoma City
OKLAHOMA 73102.

CERTIFICATE OF SERVICE

This is to certify that on the 16" day of October, 2015, a true and correct copy of
the above foregoing Application for Compensation and Notice of Opportunity for
Hearing was electronically served using the CM/ECF System to:

Office of the US Trustee

John T. Hardeman, Chapter 13 Trustee

Further, I certify that on October 16, 2015, a true and correct copy of the
Application for Compensation and Notice of Opportunity for Hearing was mailed via
U.S. Mail, first class, postage prepaid to the following:

John R. Saner
1709 Magnolia Lane
Edmond, Oklahoma 73013

See Attached Matrix

/s/ Roland V. Combs, Ill

 
Case: 11-15626 Doc:154 _ Filed: 10/16/15 Page: 4 of 7

UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

JOHN SANER )

) Case No.11-15626
Defendant. j

ATTORNEY HOURS FROM OCTOBER, 2011- October, 2015.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE TASK ATTY HOURS SPENT
10/11/2014 Meeting with Client RVC 2.50
10/19/2011 Prepare and file Motion Continue Auto Stay RVC 2.50
10/28/2011 Prepared and file all Schedules A-J RVC 2.50
10/28/2011 File Plan RVC 50
11/18/2011 Notice of Hearing Confirmation RVC 1.00
11/22/2011 341 Meeting of Creditors RVC 2.00
01/20/2012 Amend Schedule C RVC 1.00
02/27/2012 Amend Schedule C RVC 1.50
05/18/2012 Objection to Motion/Application RVC 3.00
05/18/2012 Prepare Objection to Claim RVC 2.50
05/21/2012 Notice of Hearing RVC 1.00
09/12/2012 Prepare and File Notice of Witness List RVC 1.00
09/17/2012 Motion in Limine To Compal RVC 3.00
HSBC To Produce
09/19/2012 Status Report RVC 1.00
09/25/2012 Court Appearance Motion in Limine RVC 2.60
11/07/2012 Confirmation Hearing RVC 1.50
11/28/2012 Evidentiary of Hearing RVC 4.00
12/14/2012 Confirmation of Hearing RVC 1.50
01/08/2013 Confirmation Hearing RVC 1.50
01/17/2013 Evidentiary Hearing RVC 4.00
03/26/2013 Confirmation Hearing RVC 1.50
04/23/2013 Confirmation Hearing RVC 1.00
05/29/2013 Confirmation Hearing RVC 2.00
07/18/2013 Reply to Supplemental Brief RVC 1.00
7/30/2013 Confirmation Hearing RVC 1.50
08/01/2013 Evidentiary Hearing RVC 1.00
08/20/2013 Confirmation Hearing i. RVC 1.00
09/24/2013 Confirmation Hearing RVC 1.00
10/22/2013 Confirmation Hearing RVC 1.00
11/13/2013 Confirmation Hearing RVC 1.00
12/17/2013 Confirmation Hearing RVC 1.00
01/28/2014 Confirmation Hearing RVC 2.50
02/24/2014 Status Conference on Issue of Standing RVC 1.00
02/25/2014 Hearing on Confirmation RVC 1.50

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case: 11-15626 Doc:154 Filed: 10/16/15 Page: 5of 7
04/17/2014 Application for Leave to File Out of Time RVC 1.00
04/18/2014 Amended Application to File Qut of Time RVC 1.50
04/18/2014 Response to HSBC Order RVC 3.00
04/21/2014 Court Appearance hearing on Motion to Vacate | RVC 1.00
04/22/2014 Confirmation Hearing reset RVC 1.00
07/29/2014 Confirmation Hearing reset _ RVC 1.00
11/12/2014 Confirmation Hearing reset RVC 1.00
12/23/2014 Confirmation Hearing reset RVC 1.00
01/19/2015 Prepare Resp to Mot for Adequate Protection RVC 3.50
01/27/2015 Confirmation Hearing reset RVC 1.00
02/10/2015 Court Appearance - Hearing including Preparation | RVC 5.50
Motion by HSBC for Adequate Protection
06/01/2015 Prepare Order Denying Motion for Adg Protect | RVC 1.00
08/11/2015 Hearing Motion To Reset Confirmation Hearing | RVC 1.50
08/11/2015 Prepare Order Mot To Reset Hrg and upload RVC 1.00
09/22/2015 Confirmation Hearing Plan Confirmed RVC 1.00
10/13/2015 Prepare Mation For Compensation RYC 2.00
Total Hours 81.00
Total Attorney Compensation (81 Hours 81x $250.00 hourly rate) $20,250.00
Less Total Allowed In Plan (3,560.00)
Balance Due as Additional Attorney Compensation Filed Application $16,750.00

 

 

 

 

 

 
Case: 11-15626 Doc:154 Filed: 10/16/15 Page: 6 of 7

ACCT MGMT RESOUCES LLC
2915 N CLASSEN BLVD
OKLAHOMA CITY OK 73106

AMERICAN COLLECTION SE
3100 SW 59TH ST
OKLAHOMA CETY OK 73119

CAPITAL ONE AUTO FINAN
3901 DALLAS PKWY
PLANO TX 75093

CAPITAL ONE BANK USA N
15000 CAPITAL ONE DR
RICHMOND VA 23238

CARLTON LOAN SERVICES INC
7382 S WALKER
OKLAHOMA CITY OK 73139

CENTRAL STATE RECOVERY
1314 N MAIN ST
HUTCHINSON KS 67501

COMMUNICATION FCU
4141 NW EXPWY ST STE 200
OKLAHOMA CITY OK 73116

CREDIT CONTROL CORP
11821 ROCK LANDING DR
NEWPORT NEWS VA 23606

CREDIT SYSTEMS INTL IN
P O BOX 1088
ARLINGTON TX 76004
Case: 11-15626 Doc: 154 _ Filed: 10/16/15 Page: 7 of 7

DELBERT SERVICES /CONSU
RODNEY SQUARE N 1100 NM
WILMINGTON DE 189¢C1

DIVERSIFIED CONSULTANT
PO BOX 551268
JACKSONVILLE FL 32255

ELDORADO MTR
3520 N MAY AVENUE
OKLAHOMA CITY OK 73112

FIRST PREMIER BANK
601 S MINNESOTA AVE
STOUX FALLS SD 57104

INTERNAL REVENUE SERVICE
55 N ROBINSON
OKLAHOMA CITY OK 73106

JANA FERRELL AND ASSOC
L432 W BRITTON RD STE 2
OKLAHOMA CITY OK 73114

MED BUSI BUR
1460 RENAISSANCE DR
PARK RIDGE IL 60068

MEDICREDIT INC
PO BOX 1629
MARYLAND HEIGHTS MO 63043

MERRICK BANK
PO BOX 9201
OLD BETHPAGE NY 11804
